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   15   By and through his conservator, Sherly
   16   Tolentino, et al.
   17
                            UNITED STATES DISTRICT COURT
   18
   19                     CENTRAL DISTRICT OF CALIFORNIA
   20
        Eddy Soriano, by and through his       ) Case No. 5:16-cv-155 BRO (SP)
   21   Conservator, Sherly Tolentino; Marites )
   22   de Guzman; ,                           ) DECLARATION OF LEWIS
                                               ) KHASHAN RE: ORDER TO
   23                 Plaintiffs,              ) SHOW CAUSE ON SERVICE OF
   24   v.                                     ) THIRD AMENDED COMPLAINT
        COUNTY OF RIVERSIDE; CITY OF ) AND MOTION FOR GOOD FAITH
   25
        MURRIETA; STANLEY SNIFF,               ) SETTLEMENT ON DEFENDANT
   26   Sheriff of Riverside County;           ) TYLER SCOTT JACKSON
   27
        WILLIAM DI YORIO, Undersheriff of )
        Riverside County; JULIO IBARRA,        )
   28   Senior Safety Coordinator for          )
                                                  1
                         DECLARATION OF LEWIS KHASHAN RE: ORDER TO SHOW CAUSE

                                                                           CASE NO.: 5:16-CV-155 BRO (SP)
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    1   Riverside County; JERRY                    )
    2   GUTIERREZ, Corrections Assistant           )
        Sheriff; VIRGINIA BUSBY, Captain           )
    3   of Robert Presley Detention Center;        )
    4   Correctional Deputy NORMAN                 )
        NANTES; Correctional Deputy                )
    5
        JASON CHIVAS; Correctional Deputy          )
    6   JEFFREY PINION; Correctional               )
    7
        Deputy CHRISTOPHER ALVAREZ                 )
        Murrieta Police Department OFFICER         )
    8   JEREMY MEADOWS; OFFICER H.                 )
    9   ADAMS; OFFICER ELLIOT;                     )
        OFFICER TOMPKINS; OFFICER                  )
   10   MATTHEW MOZINGO; OFFICER                   )
   11   IRVING; TYLER SCOTT JACKSON;               )
        and DOES 1-125,                            )
   12
                     Defendants.                   )
   13
   14       I, Lewis Khashan, state and declare as follows:
   15      1. I have personal knowledge of the following matters and if called to testify
   16
        in a court of law I could and would, competently testify in accordance with the
   17
   18   following
   19
           2. I am an attorney duly licensed to practice law before all courts of the state
   20
   21   of California and the Central and Southern Districts of California and am attorney
   22
        of record for plaintiffs in the above-entitled case.
   23
   24
           3. This Declaration is offered as Plaintiffs’ response to this Court’s Order to

   25   Show Cause filed on April 20, 2017 as Docket No. 95 in the above-captioned
   26
        matter.
   27
   28      4. It is my understanding that Plaintiffs served Defendant Tyler Scott Jackson
                                                    2
                           DECLARATION OF LEWIS KHASHAN RE: ORDER TO SHOW CAUSE

                                                                             CASE NO.: 5:16-CV-155 BRO (SP)
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    1   with the Third Amended Complaint on February 16, 2017, pursuant to the proof
    2
        of service attached hereto as Exhibit A, however, Plaintiffs inadvertently failed to
    3
    4   file a copy of the proof of service with the court.
    5
           5. As Plaintiffs were not the moving parties on the Motion for Good Faith
    6
    7
        Settlement, Plaintiffs assumed the moving parties served all interested parties with

    8   the motion and therefore, did not serve a separate copy of the motion on
    9
        Defendant Jackson.
   10
   11      6. It did not come to my attention that Defendant Jackson was omitted from
   12
        the service list for the Motion for Good Faith Settlement until the court issued its
   13
   14   Order denying the Motion for Good Faith Settlement without prejudice on April
   15   20, 2017.
   16
           7. On April 25, 2017, Plaintiffs filed a dismissal with prejudice as to
   17
   18   Defendant Tyler Scott Jackson bearing Docket No. 96. Based on the dismissal of
   19
        Defendant Tyler Scott Jackson with prejudice, the need for a Good Faith
   20
   21   Settlement order is now moot.
   22
           8. On behalf of all of the attorneys representing Plaintiffs on this matter, we
   23
   24
        apologize and regret any inconvenience this caused the court or opposing counsel.

   25
   26
   27
   28
                                                    3
                           DECLARATION OF LEWIS KHASHAN RE: ORDER TO SHOW CAUSE

                                                                             CASE NO.: 5:16-CV-155 BRO (SP)
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    1      I declare under penalty of perjury that the foregoing is true and correct and that
    2
        this declaration was executed on April 27, 2017, in Murrieta, California.
    3
    4
           Dated: April 25, 2017          \s\_________________________
    5
    6                                     Lewis Khashan, Esq.
    7
                                          Attorney for Plaintiffs, Eddy Soriano by and
                                          through his Conservator, Sherly Tolentino and
    8                                     Marites De Guzman
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                           DECLARATION OF LEWIS KHASHAN RE: ORDER TO SHOW CAUSE

                                                                             CASE NO.: 5:16-CV-155 BRO (SP)
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                                  Exhibit A

                                              CASE NO.: 5:16-CV-155 BRO (SP)
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